Case 1:17-mc-00151-LPS Document 429 Filed 01/06/22 Page 1 of 2 PageID #: 11391


                      MORRIS, NICHOLS, ARSHT                      &   TUNNELL      LLP

                                         1201 N ORTH M ARKET S TREET
                                                P.O. B OX 1347
                                     W ILMINGTON , D ELAWARE 19899-1347
                                                (302) 658-9200
                                             (302) 658-3989 FAX


 KENNETH J. NACHBAR
 (302) 351-9294
 (302) 425-3013 FAX
 KNachbar@morrisnichols.com



                                                January 6, 2022

FILED VIA ELECTRONIC FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

                  Re:         Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, et al.,
                              No. 1:17-mc-151-LPS

Dear Judge Stark:

                We write to inform the Court of recent events relevant for its consideration of
outstanding briefing on the issue of U.S. sanctions. E.g., D.I. 406, 408, 418, 419, 421.
Specifically, on January 3, 2022, the National Assembly of Venezuela voted to extend its authority,
as well as the authority of interim president Juan Guaidó, for an additional year. On January 4,
2022, the U.S. Department of State issued a statement re-affirming its recognition of “the
democratically elected 2015 National Assembly as the last remaining democratic institution and
Juan Guaidó as Venezuela’s interim president,” and expressing its support for the extension, noting
“[w]e welcome the agreement reached to extend the authority of the National Assembly elected in
2015 and of interim President Guaidó as its president.” Press Statement, U.S. Department of State,
“U.S. Recognition of Venezuela’s 2015 National Assembly and Interim President Guaidó,” (Jan.
4, 2022), available online at https://www.state.gov/u-s-recognition-of-venezuelas-2015-national-
assembly-and-interim-president-guaido/. These events, contrary to Crystallex International
Corporation’s repeated claims in this litigation that the “the expiration of the National Assembly’s
mandate in January” will lead to an imminent change in U.S. sanctions policy that will cause its
license application to the Office of Foreign Assets Control to be reevaluated, demonstrate that U.S.
foreign policy towards Venezuela has not changed, and is unlikely to do so in the foreseeable
future. E.g., D.I. 406 at 13.
Case 1:17-mc-00151-LPS Document 429 Filed 01/06/22 Page 2 of 2 PageID #: 11392

The Honorable Leonard P. Stark
January 6, 2022
Page 2

                                                 Respectfully submitted,

                                                 /s/ Kenneth J. Nachbar

                                                 Kenneth J. Nachbar (#2067)


cc: All Counsel of Record (Via E-Filing)




                                           -2-
